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              EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JUNSUB SHIM,                                     Civil Action No.: 1:24-cv-09738-JPC

                        Plaintiff,

                                                           AMENDED COMPLAINT
         -against-                                          AND JURY DEMAND

 LUXURY ASSET CAPITAL, LLC;
 LUXURY ASSET CAPITAL HOLDINGS,
 LLC; BLCE, LLC D/B/A NEW YORK
 LOAN COMPANY; NORA ALETTE
 GILLERN; CARMICHAEL GALLERY,
 LLC; and SETH CARMICHAEL,

                        Defendants.



        Plaintiff, Junsub Shim (“Plaintiff” or “Shim”), by and through his attorneys, Rivkin Radler

LLP, for his Complaint against defendants, Luxury Asset Capital, LLC (“LAC”); Luxury Asset

Capital Holdings, LLC (“LAC Holdings”); BLCE, LLC d/b/a New York Loan Company

(“BLCE”); Nora Alette Gillern (“Gillern”); Carmichael Gallery, LLC (“Gallery”); and Seth

Carmichael (“Carmichael”) (collectively, “Defendants”), hereby alleges as follows:

                                     NATURE OF THE ACTION

        1.     This is an action to recover a painting, purchased by Plaintiff, that is now being

withheld from Plaintiff, its rightful owner, by a pawnbroker and/or damages resulting from the

same.

        2.     In 2021, Plaintiff bought Infinity Nets (Registration No. 04372) (“Artwork”), a

2016 painting by Yayoi Kusama, from the Gallery. Plaintiff received full title and the right to

exclusive possession of the Artwork upon purchase. Despite this, the Gallery’s owner, Carmichael,

along with Gillern pledged the Artwork as collateral for a $500,000 loan (“Loan”) from LAC,
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LAC Holdings, and BLCE (collectively, “Lender”), who now continue to retain possession of the

Artwork despite Plaintiff’s requests for its release.

       3.       Carmichael and Gillern had no rights in the Artwork. Therefore, under N.Y.U.C.C.

9-203, Lender received no rights in the Artwork. Despite this, Lender refuses to return Plaintiff’s

Artwork.

       4.       By ignoring Plaintiff’s legal ownership, superior right of possession, and demands

for return, Defendants are liable for, among other things conversion and unjust enrichment.

Additionally, Lender is liable in replevin.

                                              PARTIES

       5.       Plaintiff is a citizen of the Republic of Korea, residing in Seoul, South Korea.

       6.       Upon information and belief, Defendant LAC is a Delaware limited liability

company with its principal place of business in Colorado. It operates New York Loan by Luxury

Asset Capital at 110 West 40th Street, New York, NY 10018, a pawnbroker for clients in the New

York and Tri-State region.

       7.       Upon information and belief, Defendant LAC Holdings is a Delaware limited

liability company that operates LAC which operates New York Loan by Luxury Asset Capital at

110 West 40th Street, New York, NY 10018, a pawnbroker for clients in the New York and Tri-

State region.

       8.       Upon information and belief, Defendant BLCE, LLC is a limited liability company

organized under the laws of the State of New York, doing business as New York Loan Company,

with its principal place of business at 50 West 47th Street, New York, NY 10036, a pawnbroker

for clients in the New York and tri-state region.

       9.       Upon information and belief, Defendant Nora Alette Gillern is an individual

residing in New York with an address at 141 N 8th St, Brooklyn, NY 11249-2054.



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       10.     Upon information and belief, Defendant Carmichael Gallery, LLC is a limited

liability company organized under Florida law with an address at 3208 W. Price Avenue, Tampa,

Florida, 33611.

       11.     Upon information and belief, Defendant Seth Carmichael is an individual residing

in Evergreen, Colorado.

                                 JURISDICTION AND VENUE

       12.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1332 because the total matter in controversy, exclusive of interest and costs, exceeds the

jurisdictional threshold of $75,000.00, and is between citizens of different states and/or a foreign

country.

       13.     Additionally, Plaintiff and the Gallery agreed to New York law and the exclusive

jurisdiction of New York for any disputes related to their contract. Accordingly, venue is proper

in this District pursuant to 28 U.S.C. § 1391(b).

                                              FACTS

A. Plaintiff Purchases Title And Exclusive Possession To The Artwork

       14.     On December 21, 2021, Plaintiff and the Gallery entered into an Agreement of Sale

(“Agreement”) for the Artwork. (See Ex. A).

       15.     The Agreement provides that once Plaintiff pays the Gallery the sum of

(“Purchase Price”), the Gallery will transfer “good, valid and marketable title and exclusive and

unrestricted right to possession of the works, free and clear of all claims, liens or encumbrances of

any kind.” (Ex. A).

       16.     The next day, pursuant to the Agreement and the Gallery’s invoice, Plaintiff wired

the Purchase Price to the Gallery’s bank account, thus fulfilling his obligations under the

Agreement and receiving title and the exclusive right to possession the Artwork. (See Exs. B-C).



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       17.     Plaintiff possesses the registration card for the Artwork, issued by the artist’s

corporation, Yayoi Kusama, Inc., dated December 20, 2021, registration number 04372, a copy of

which is attached hereto as Exhibit D, pictured next to Plaintiff’s passport.

B. Lender Takes Plaintiff’s Artwork As Collateral For A Loan To Carmichael And Gillern

       18.     Despite Plaintiff’s exclusive right to title and possession of the Artwork, on or about

February 3, 2022, without Plaintiff’s knowledge, Gillen, on behalf of Carmichael, entered into a

loan contract (“Loan Agreement”) with BLCE in connection with the Loan in the amount of

$500,000 with the Artwork as collateral. (See Ex. E).

       19.     While the Loan Agreement was executed by Gillern, as borrower and purported

authorized agent of the Artwork’s owner, Gillern appointed Carmichael as her “attorney-in-fact”

and Lender treats Carmichael as the borrower.1

       20.     Carmichael directed the storage facility housing the Artwork to transfer it to

Lender.

       21.     Thereafter, Lender loaned $500,000 to Carmichael with the Artwork as collateral

per the Loan Agreement.

       22.     Neither Gillern nor Carmichael had any rights to transfer in the Artwork, despite

any representations to the contrary, because Plaintiff had purchased all rights months earlier. (See

Exs. A-D).

       23.     In fact, soon after entering into the Loan Agreement, Carmichael admitted to

Plaintiff’s purchasing agent that on February 3, 2022, he gave the Artwork to Lender, “[w]ell after

Shim paid for it.”




1 For instance, Lender has claimed that Carmichael, not Gillern, defaulted on the loan.




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C. Plaintiff Demands His Artwork; Lender and Carmichael Ignore And Refuse Him

       24.     Between November 2022 and April 2024, Plaintiff’s purchasing agent and Lender

exchanged multiple emails regarding the Artwork and Carmichael’s Loan. The agent asserted

multiple times that Plaintiff is the rightful owner and Lender’s possession is unlawful.

       25.     Plaintiff provided Lender with proof of ownership, including the Agreement and

the bank wire confirmation for the Purchase Price.

       26.     On June 26, 2024, Plaintiff, through his undersigned counsel, served Carmichael

and the Gallery with a letter demanding that they take all necessary actions to effectuate immediate

release of the Artwork to Plaintiff. Carmichael and the Gallery failed to respond to this letter.

       27.     Also, on June 26, 2024, Plaintiff, through his undersigned counsel, served Lender

with a letter again informing Lender that Plaintiff is the rightful owner of the Artwork, and again

providing proof of ownership, i.e., the Agreement, the Gallery’s invoice to Plaintiff, bank wire

confirmation for the Purchase Price, and the registration card for the Artwork.

       28.     On August 5, 2024, Plaintiff, through his undersigned counsel, served Lender with

a letter demanding the immediate return of the Artwork to Plaintiff, including explaining why

Lender never received any interest in the paining under N.Y.U.C.C. 9-203. Despite this, Lender

has failed to return the Artwork.

       29.     After serving the August 5, 2024 demand letter, undersigned counsel for Plaintiff

has communicated with counsel for the Lender in an attempt to resolve this dispute, but which has

not resulted in the return of the Artwork.

       30.     Accordingly, Plaintiff was left with no option but to bring this action.




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                                        COUNT ONE
                             (Conversion – against all Defendants)

       31.     Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.

       32.     The property subject to conversion is a specific identifiable thing, to wit, the

Artwork.

       33.     Plaintiff acquired ownership, title, and the exclusive right to possession of the

Artwork on or about December 22, 2021, months before Carmichael and Gillern gave the Artwork

to Lender on February 3, 2022, as collateral for the Loan.

       34.     Plaintiff’s rights to the Artwork are established by, inter alia, the Agreement, the

invoice, the registration card, and the bank wire confirmation.

       35.     Lender exercised unauthorized dominion over the Artwork to the exclusion of

Plaintiff’s sole rights to title and possession because, inter alia, it had proof of Plaintiff’s

ownership, title, and right to exclusive possession, yet refused Plaintiff’s demands for his Artwork.

       36.     Plaintiff provided Lender with proof of ownership of the Artwork on, inter alia,

March 8, 2024. Then, on June 26, 2024, Plaintiff demanded Lender immediately return the

Artwork to Plaintiff by August 8, 2024. Lender, however, has refused.

       37.     Carmichael, Gillern, and the Gallery exercised unauthorized dominion over the

Artwork to the exclusion of Plaintiff’s rights to title and exclusive possession because, inter alia:

(i) Plaintiff, as admitted by Carmichael, bought the Artwork well before they transferred it to

Lender; (ii) Gillern misrepresented herself as an authorized agent of the Artwork’s owner; and (iii)

all the above referenced documents establish that Plaintiff acquired ownership, title, and the right

to exclusive possession before the Loan.




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       38.     As a result of the foregoing, Plaintiff has incurred and will continue to suffer

damages.

                                           COUNT TWO
                                     (Replevin – against Lender)

       39.     Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.

       40.     Plaintiff lawfully acquired the exclusive and superior right of possession to the

Artwork on or about December 22, 2021.

       41.     Despite this, Lender accepted physical “possession” of the Artwork from

Carmichael on February 3, 2022, and Lender still retains possession of it.

       42.     Plaintiff has, on multiple occasions, told Lender that he is the rightful owner and

provided proof of same, including on March 8, 2024.

       43.     On August 5, 2024, Plaintiff unambiguously demanded Lender immediately release

the Artwork to its rightful owner.

       44.     Lender has refused to do so and continues to keep the Artwork from Plaintiff

despite receiving documented proof of Plaintiff’s ownership.

       45.     Plaintiff is entitled to immediate possession of the Artwork and requests an order

directing Lender to immediately return the Artwork to Plaintiff and/or enter judgment for a sum to

be determined at trial but in no event less than the Purchase Price plus any appreciation in market

value since December 22, 2021, and interest, costs, expenses, as well as reasonable attorney’s fees

incurred in the prosecution of this action

                                      COUNT THREE
                         (Unjust Enrichment – against all Defendants)

       46.     Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.



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       47.     Defendants unlawfully harmed Plaintiff by depriving him of his lawfully acquired

rights in the Artwork and converting the Artwork for their benefit to his detriment.

       48.     Carmichael, Gillern, and the Gallery have profited and enriched themselves

unjustly by at least $500,000 at the expense and detriment of Plaintiff.

       49.     Lender has enriched itself unjustly by at least the Purchase Price less $500,000 at

the expense and detriment of Plaintiff

       50.     Defendants should not be permitted in equity and good conscience to retain

property that rightfully belongs to Plaintiff.

       51.     As a result of the foregoing, Plaintiff has incurred and will continue to suffer

damages.

                                       COUNT FOUR
                           (Breach of Contract – against the Gallery)

       52.     Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.

       53.     On or about December 21, 2021, Plaintiff and the Gallery entered into the

Agreement, which is a valid and binding contract.

       54.     Pursuant to the Agreement, once Plaintiff paid the Gallery the Purchase Price, the

Gallery agreed, inter alia, to transfer “good, valid and marketable title and exclusive and

unrestricted right to possession of the works, free and clear of all claims, liens or encumbrances of

any kind.” (Ex. A).

       55.     Plaintiff performed his obligations under the Agreement, including by wiring the

Gallery the Purchase Price on or about December 22, 2021.




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       56.        The Gallery breached the Agreement by failing to deliver the Artwork to Plaintiff.

Instead, Carmichael and the Gallery, along with Gillern, delivered the Artwork to Lender to hold

as collateral for the Loan in the amount of $500,000.

       57.        As a result of the foregoing, Plaintiff has incurred and will continue to suffer

damages.

                                     COUNT FIVE
                     (Common Law Fraud – against Carmichael and Gallery)

       54.        Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.

       55.        Carmichael and the Gallery made false and fraudulent representations to Plaintiff

of material facts, including the promise to transfer possession of the Artwork to Plaintiff upon

payment of the Purchase Price as set forth in the Agreement dated December 21, 2021.

       56.        Carmichael and the Gallery made these misrepresentations with knowledge that

they were false in an effort to, inter alia, induce Plaintiff to enter into the Agreement, purchase the

Artwork, and wire Carmichael and the Gallery the Purchase Price.

       57.        However, upon information and belief, Carmichael and the Gallery, never intended

to transfer possession of the Artwork to Plaintiff. Instead, Carmichael and the Gallery

misappropriated the Purchase Price from Plaintiff then delivered the Artwork to the Lender to use

as collateral to secure the Loan.

       58.        Plaintiff relied on Carmichael and the Gallery’s misrepresentations regarding their

promise to transfer possession of the Artwork upon payment of the Purchase Price. But for these

representations, Plaintiff would never have entered into the Agreement or wired the Purchase Price

to the Gallery.




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        59.     As a result of the foregoing, Plaintiff has incurred and will continue to suffer

damages.

                                        COUNT SIX
                  (Aiding and Abetting Fraud – against Gillern and Lender)

        60.     Plaintiff repeats, reiterates and realleges each and every allegation contained in the

above paragraphs with the same force and effect as if set forth at length herein.

        61.     Gillern and Lender knowingly aided and abetted Carmichael and the Gallery’s

fraud against Plaintiff.

        62.     Gillern, among other things, executed the Loan Agreement (as borrower and

purported authorized agent of the Artwork’s owner) and facilitated transfer of the Artwork to

Lender in connection with receiving the Loan despite Plaintiff’s exclusive right to title and

possession of the Artwork.

        63.     Lender, among other things, entered into the Loan Agreement and took possession

of the Artwork in connection with the Loan despite Plaintiff’s exclusive right to title and

possession of the Artwork. Further, Lender continues to wrongfully maintain possession of the

Artwork despite Plaintiff having shown Lender proof of his ownership of the Artwork and

demanded release of the same.

        64.     Gillern and Lender knew or should have known that Carmichael and the Gallery

had no rights to the work when pledged in connection with the Loan.

        65.     Upon information and belief, Lender either failed to perform any reasonably due

diligence regarding the rightful ownership of the Artwork and/or deliberately ignored it when

Lender issued the Loan and took possession of the Artwork.




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       66.     The acts and conduct of Gillern and Lender as alleged herein substantially assisted,

supported, induced, supplemented, endorsed and/or they recklessly participated in Carmichael and

the Gallery’s fraud against Plaintiff.

       67.     As a result of the foregoing, Plaintiff has incurred and will continue to suffer

damages.

       WHEREFORE, Plaintiff requests judgment against Defendants as follows:

       (i)     For permanent injunctive relief compelling Lender to immediately release and

               return the Artwork to Plaintiff;

       (ii)    Awarding Plaintiff actual, compensatory and consequential damages of not less

               than the Purchase Price;

       (iii)   Awarding Plaintiff punitive damages;

       (iv)    Awarding Plaintiff his attorneys’ fees, costs and disbursements; and

       (v)     Granting Plaintiff such other and further relief as the Court deems just and proper.




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Dated: January 6, 2025                By: s/ Gene Y. Kang
                                      Gene Y. Kang
                                      RIVKIN RADLER LLP
                                      25 Main Street, Suite 501
                                      Court Plaza North
                                      Hackensack, New Jersey 07601
                                      P: (201) 287-2489
                                      F: (201) 489-0495
                                      gene.kang@rivkin.com

                                      -and-

                                      477 Madison Avenue
                                      New York, New York 10022
                                      P: (212) 455-9555
                                      F: (212) 687-9044

                                      Attorneys for Plaintiff, Junsub Shim




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                                        JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38(b), plaintiff, Junsub Shim hereby demands a trial by jury of

any issue so triable as of right.

Dated: January 6, 2025                            s/ Gene Y. Kang
                                                  Gene Y. Kang
                                                  RIVKIN RADLER LLP
                                                  25 Main Street, Suite 501
                                                  Court Plaza North
                                                  Hackensack, New Jersey 07601
                                                  P: (201) 287-2489
                                                  F: (201) 489-0495
                                                  gene.kang@rivkin.com

                                                  -and-

                                                  477 Madison Avenue
                                                  New York, New York 10022
                                                  P: (212) 455-9555
                                                  F: (212) 687-9044

                                                  Attorneys for Plaintiff, Junsub Shim




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              EXHIBIT A
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                                           AGREEMENT         OF SALE
THIS AGREEMENT           OF SALE (“Agreement”) is made and entered into as of December 21, 2021 by and
between:
Seller: Carmichael Gallery LLC (the “Seller’’)
Buyer: Shim Junsub
WITNESSETH:

WHEREAS,       the Seller is the agent of the ultimate owner of the works of art more fully described on Invoice
20746 attached hereto and made a part hereof (the “Works’’), and is authorized to sell the works on behalf of
the owner.
WHEREAS, the Seller has agreed to sell the works to the Buyer and the Buyer has agreed to buy the works
from the Seller, on the terms and conditions set forth in this Agreement.
NOW,    THEREFORE,        in consideration of the mutual promises contained in this Agreement, the parties
agree as follows:
1. Purchase Price and Manner of Payment. The purchase price for the works is                     US Dollars
(                (the “Purchase Price”). Payment shall be made by bank transfer in immediately available
funds in accordance with the wire instructions set forth on Invoice 20746 attached to this Agreement. The
Buyer shall be responsible for all wire fees associated with this payment.
2. Representations and Warranties of Seller. The Seller represents and warrants to the Seller as follows:
     1. (4) Seller has the unfettered right to sell the works in accordance with the terms of this Agreement;
     2. (ii) On the date of the Closing (as defined below), subject only to the Seller's payment of the
        Purchase Price in accordance with this Agreement, the Seller will transfer good, valid and
        marketable title and exclusive and unrestricted right to possession of the works, free and clear of all
        claims, liens or encumbrances of any kind.
     3. (iii) Seller has the full right, title and legal authority to execute and deliver this Agreement, and is
        and will be able in accordance with this Agreement to transfer the works to the Buyer.
     4. (v) Each of the warranties made by the Seller in this Agreement is correct and accurate in all material
        respects. Notwithstanding anything to the contrary in this Agreement, the Seller shall be liable to the
        Buyer by reason of any representation or implied warranty, condition or other term or any duty at
        common law, or under the express terms of this Agreement, for any consequential loss or damage
        (whether for loss of profit or otherwise and whether occasioned by the negligence of the Seller or its
        employees or agents or otherwise) arising out of or in connection with any act or omission of the
        Seller relating to the supply of the works.
3. Title. The Seller and the Buyer agree that the sale of the work and the transfer of title from the Seller to
the Buyer (the ““Closing”’) shall take place forthwith after the Buyer has paid the Purchase Price in full as
provided in this Agreement.
4. Expenses. Shall the works not be purchased according to the terms of this agreement, the Buyer agrees to
pay for the transportation and other related costs incured to date, including, without limitation, interest on
financing, costs relating to packing, transport and storage and insurance of the works.
5. Taxes. The Buyer agrees to pay any and all sales or use taxes and custom duties payable arising from the
Buyer's acquisition of the works in accordance with this Agreement.
6. Confidentiality. Both the Buyer and the Seller acknowledge that the provisions and subject matter of this
Agreement, including but not limited to the identity of the Buyer and the works and the Purchase Price, are
confidential and each of the Buyer and the Seller agrees not to disclose any of the forgoing information to
any person or entity, except as may be required by law or with the written permission of the party. This
Clause shall survive termination of this Agreement.
7. Governing Law. Unless otherwise agreed by the parties, this Agreement shall be governed by the laws of
New York, NY. Any dispute arising from or in connection with this Agreement shall be subject to the
exclusive jurisdiction of the courts of New York, NY.
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8. Amendment. This Agreement may not be amended, waived or otherwise modified except by a written
instrument signed by the Seller and the Buyer.
9. No Rights in Third Parties. Nothing express or implied in this Agreement is intended to confer upon any
person, other than the Seller and the Buyer, and their respective successors and assigns, any rights, remedies,
obligations or liabilities under or by reason of this Agreement.
IN WITNESS WHEREOEF, the parties hereto have hereunto signed their names below as of the day and
year first-above written.
Seller: Carmichael Gallery LLC By:
Name: Seth Carmichael



 7CAZ




Buyer: Shim Junsub
             ee
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               EXHIBIT B
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                                                                      INVOICE



From: Carmichael Gallery LLC                                                                                                                        20746
3208 W. Price Ave
Tampa, FL 33611                                                                                                                                12/20/2021
United States

To: Shim Junsub
Gangnamgu, dosandaero 158, 601ho
Seoul
South Korea


                 DESCRIPTION                                                                                                                       Total

                          Yayoi Kusama
                          APRU, 2016
                          Acrylic on canvas
                          130h x 130w cm
                          51.18h x 51.18w in
                          YK001026




                  Subtotal
                  Sales Tax (0%)                                                                                                                   $ 0.00
                  Total




TERMS

Thank you for your purchase. Payment is due within 3 days upon receipt of invoice. Seller reserves the right to cancel the sale if payment is not
received within this time. Purchaser is responsible for any taxes and duties due. Title will not pass until payment is received in full. This invoice does
not constitute a binding sale until payment is received in full. Upon receipt of payment work shall be released to Purchaser.

Please arrange payment via wire transfer to:

Carmichael Gallery LLC

Bank Of America
9461 Wilshire Blvd.
Beverly Hills, CA
SWIFT #: BofAUS3N
ABA#: 026009593
Account#:
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              EXHIBIT C
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                                      CARMICHAEL             GALLERY        LLC
                                      3208 W. PRICE AVE TAMPA, FL 33611
                                      UNITED STATES



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              EXHIBIT D
                                                                                   Case 1:24-cv-09738-JPC                            Document 4-1    Filed 01/06/25                             Page 23 of 25



       Registration card for Yayoi Kusama                                                             works
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      SM

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                                                           a                         H, MMMEOEREOLT. AKAUAMME MER - RET SHER
      the registration number and title as registered as
      Yayoi Kusama work, as of the date of issuance of this                          YAKCBMBA—KRABOBATHEMENKTEERLTUET,
      card, in the list of works prepared and   managed   by                         BBA— Kid. HROMMERT ERE LTRUT SEO TIES.
      YAYOI KUSAMA Inc. This card does not function as a                             HUA KNILBMA— KICSVSRMOAMICMH  ST. XR
      certificate evidencing the value of the work and we do                         BMOMELERO MMMM. HH. WEERGOPACMT   SORE
      not guarantee its market value, materials, years of pro-                       IEW LEA.
                                                          even
      duction or other information relating to the work,
      if such information is contained in the list or this card.                     BMH RVA CRIT A. PICRMS NEST bE. BR. KH.
                                                                         size of     PREOKOMEPRENETH, HARUAMMMAIE, TOPE > WET SLE
      Although the list of registered works includes information on the
                                                                                     RVUAKCBUT, HOP AMAA EGRCRETEETSCEVH VET.
      each work, title Indicated on the work, year, materials and techniques
                                                              may modify such
      used, and other Information indicated on the work, we
                                                            to time.
      Information In the list as may be necessary from time




                                                                                                                                                                                                    YAYOI KUSAMA INC.
                                                 Registration No.
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                                                 Date of Issue                            2021/12/20                                                                       and protection in case of need,
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|   Privacy policy is on official website
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    Reproduction or distribution
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Case 1:24-cv-09738-JPC   Document 4-1   Filed 01/06/25   Page 24 of 25




               EXHIBIT E
                         No pledged Case
                                    Collateral will1:24-cv-09738-JPC
                                                    be shown                                         4 MONTH LOAN4-1
                                                                                                     Document     CONTRACT
                                                                                                                       Filed 01/06/25                                             Lam
                                                                                                                                                                                  Page 25(illof| 25
                                                                                                                                                                                                 I| ill ll | | ill | | ill
                           prior to redemption.                                                 THIS IS       A PLEDGE AND NOT A SALE                                                                                                   ‘
              No personal or business checks or credit cards                                                      GGhise. 40ab078                                              The Finance Charge consists of the Service Fee, Interest,
                               accepted at redemption.                                                                      &                                                    Insurance Fee, and Extra Care Charges shown                  below.
                                                                                                                                                                                     Service Fee                                 LOAN NO.
  AMOUNT             FINANCED
 The amount of cash advanced or        .                 $500,000.00                                                                                                                   $10.00                              LT-PG2000253
  FINANCE                     CHARGE                                                             N EW       YOR      K   LOAN         co M PANY                                        Interest                            Original Loan No.

 The dellar amount the                      ,             $40,010.00                                                                                                                $40,000.00                             LT-PG2000253
 credit will cost you.                                                                                                                                                                                                       i            7 Value

 TOTAL         OF        PAYMENTS.                                               Member of Collateral Loanbrokers Association of New York & National Pawnbrokers Association        Insurance Fee                                nsUrOU      ve
 Amount required to redeem                               $540,0      10.00                                                                   .                                       {Declined}                                     $0.00
 pawn on Date Due.                                                                                  50 West 47th Street, Suite 319                                             one                                                Caen Dele
 ANNUAL                  PERCENTAGE                                        °                                 New York, NY 10036
 RATE.          the cost of your                                   24.01%                                                                                                         Vault Storage Fee                               2/3/2022
     as a yearly rate.
 credit                                                                                212.997.LOAN (5626) - 855.957.LOAN (5626)                                                                                                  a
  DATE DUE                                                       6/3/2022                                 www.newyorkloan.com                                                           $0 .00                                    —

 PAYMENT            SCHEDULE:               Total of Payments is due on Date Due shown above.                   PREPAYMENT:            Payment in full prior to the Date Due may result in a reduction in the Finance Charge.
 You ("Borrower") are pledging to New York Loan Company ("Collateral Loan Broker") a security interest in the following property (“Collateral”):
 YAYOI KUSAMA, INFINITY NETS (APRU), 2016. ACRYLIC ON CANVAS, 51.25 X 51.25 IN. STORED AT/MUST COLLECT AT ATELIER4 LA.




                                                             A MINIMUM         OF TWO     BUSINESS           DAYS' PRIOR NOTICE REQUIRED                             FOR REDEMPTION
         REDEMPTION AMOUNTS                           Borrower's Name, Address, Email Address, and Phone Number
ON OR BEFORE:                          3/3/2022       NORA    ALETTE    GILLERN                                                                                                                                 Itemization of the Amount Financed of
                     :                                141 N 8TH RH2
AMOUNT DUE:                        $510,010.00        BROOKLYN NY 11249                                                                                                                                                :                    $500,000.00
                                                                                                                                                                                                                                            —

ON OR BEFORE:                          4/3/2022] (215) 837-2869                                                                                                                                                 moti geniieiyeu See
AMOUNT DUE:                        $520,010.00                                                                                                                                                                                              $500,000.00
ON OR BEFORE:                              5/3/2022                                                                                                                                                             Amount credited to prior loan

AMOUNT DUE:                        $530,010.00                                   La                                                                                                                                                                    $0.00
ON OR BEFORE:                          6/3/2022|      | am the         owner            uthorized agent of the owner of the above mentioned Collateral and | am of legal age and have the legal right to pawn the same
AMOUNT DUE                ,        $540,010.00        and | have    carefully read antfereby agree to all the terms and conditions of this loan and pledge, as contained on both sides of this Loan Contract delivered
                     :                      010.00    to me and          wledge receipt of a copy of this Loan Contract, which contained the required Federal Truth in Lending Act disclosure statement.
                                                      | hereby      Pecvet                do not request, that Collateral Loan Broker retain this signed original Loan Contract and acknowledge receipt of a duplicate copy.
         STORE                 COPY                   | ackno'            that if I lose thi       n Contract, | will be charged a fee to replace it.


                          Borrower's
                          Signature:                                                                I)Yan                                                             Date & Time Printed:           2/3/2022 4:16:52 PM
                                                                     md

By signing, | am stating that | agree that the Collateral will be stored in      y¢cordance with the terms of this Loan Contract, that | have read and fully and completely
understand the terms and conditions on the front and back of         thig Loay/Contract and agree to them as a part of this Loan Contract as if they were printed above
my signature, that all information given is true and correct, and thatafll                      blanks were fi lled in prior to my signing.
NOTICE TO BORROWER: All capitalized terms not defi ned on the front of this Loan Contract shall have the meanings ascribed to such terms on the reverse side.
By initialing below, you agree to the following terms and conditions:
1. CHANGE OF ADDRESS: Borrower must promptly notify Collateral Loan Broker of any change of address either in person or in writing sent via registered mail, return receipt
requested. The notice must include Borrower's name, new mailing address, telephone number, a copy of Borrower’s photo ID and loan number(s). If Borrgw¢rdesires Collateral Loan
Broker to respond to such notice, Borrower must provide a postage paid, self-addressed envelope for such reply.                            4mx
                                                                                                                                                                                                 ;                           Borrower's Initials
2. FEES:             The Insurance Fee and Extra Care Charges shown above, if any, will accrue on a pro-rated                                    monthly    basis until such    time as the Collateral              Was been redeemed.
                                                                                                                                                                                                                             Borrower's Initials
3. INSURANCE: Borrower is solely responsible for insuring the Collateral. Notwithstanding the forgoing, Collateral Loan Broker has offered and Borrower has elected additional
coverage in the maximum amount shown above as the "Insured Value." If the “Insured Value” is $0, Borrower has declined coverage offered by Collateral Nee
                                                                                                                                                                3.X                                                         Borrower's Initials
4. MILITARY LENDING ACT:                              Borrower acknowledges that Collateral Loan Broker does not offer any loan product that complies with the Military Lending                                      Act (10 U.S. Code § 987).
As a material term of this contract, Borrower warrants that Borrower is neither                            a member of, nor        a dependent of a member of, the US armed forces who is:                  j) op     active duty under a call
or order that does not specify a period of 30 days or less, or ii) on active Guard and Reserve Duty.                                                                                         4X         A    i. 2            Borrower's Initials
5. 3RD PARTY AUTHORIZATION:                 Borrower hereby appoints       SETH CARMICHAEL                                                as Borrower's attorney-in-fact and authorizes
him/her to (1) sign all documents related to this Loan Contract and all New Loan Contracts on behalf of Borrower with the same force and effect as though they were signed by Borrower
directly and (2) redeem and take possession of the Collateral. In no event shall Collateral Loan Broker be required to verify the identity of any person claiming to be Borrower's attorney-in
-fact and shall only confi rm that the name above matches the ID provided by such person. If Borrower wants to terminate this appointment, Borrower must notify Collateral Loan Broker
via written notice, which shall be signed, dated, and state: “| hereby terminate [person named above] as my attorneyin-fact.” No termination of this appointment via written notice will be
effective until such notice is actually received by Collateral Loan Broker. If Borrower desires that Collateral Loan Broker acknowledge receipt, Borrower musprovide a postage paid,
self-addressed envelope.                                                                                                                                                                     5X                             Borrower's Initials
6. LIMITATION OF LIABILITY; CROSS-COLLATERALIZATION:                                                     Borrower acknowledges that any and all claims by Borrower against Collateral Logh                           Broker,
by reason of Borrower having elected the additional coverage, shall be limited to the “Insured Value.” If Borrower has declined insurance coverage offered by Collateral Loan Broker,
Collateral Loan Broker shall not be liable for any loss or destruction of the Collateral unless arising out of Collateral Loan Broker's gross negligence or willful misconduct, in which case,
Borrower's recourse shall be limited to Collateral Loan Broker’ forgiveness of the loan principal, interest, fees, and other charges. Any claim by Borrower against Collateral Loan Broker
must be brought within one year from the earlier of the date the claim accrued or the expiration of the Term of this Loan Contract. Borrower waives any statute of limitations to the
contrary. Borrower agrees that the Collateral securing this Loan Contract shall serve as collateral for any and all other loans Borrower has presently or may have in the future with
Collateral Loan Broker. In the event Borrower is in default on another loan, Collateral Loan Broker may refuse to release the Collateral that secures this loag                                             until Borrower has cured
such default.                                                                                                                                                                                6x
                                                                                                                                                                                                                            Borrower's Initials
                                ALL BUSINESS STRICTLY CONFIDENTIAL + NOTICE: SEE THE REVERSE SIDE FOR MORE TERMS AND CONDITI@NS
                                                                                                                                                                                                                                              Pwn:Beverly-01 NY
